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 5
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 6    EDMOND NEAL
 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
      EDMOND NEAL,                                     Case No.:
11
                   Plaintiff,                          COMPLAINT FOR INJUNCTIVE
12                                                     RELIEF AND DAMAGES FOR DENIAL
            vs.                                        OF CIVIL RIGHTS OF A DISABLED
13                                                     PERSON IN VIOLATIONS OF
14                                                     1. AMERICANS WITH DISABILITIES
                                                       ACT, 42 U.S.C. §12131 et seq.;
15    4400 SLAUSON LLC; and DOES 1 to 10,
                   Defendants.                         2. CALIFORNIA’S UNRUH CIVIL
16                                                     RIGHTS ACT;
17                                                     3. CALIFORNIA’S DISABLED
                                                       PERSONS ACT;
18
                                                       4. CALIFORNIA HEALTH & SAFETY
19                                                     CODE;
20                                                     5. NEGLIGENCE
21
22
23
            Plaintiff EDMOND NEAL (“Plaintiff”) complains of Defendants 4400 SLAUSON

24
      LLC; and DOES 1 to 10 (“Defendants”) and alleges as follows:

25
                                               PARTIES

26
            1.     Plaintiff is a California resident with a physical disability. Plaintiff is an

27
      amputee below his right knee and is substantially limited in his ability to walk. Plaintiff

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      requires the use of a wheelchair at all times when traveling in public.



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 1            2.   Defendants are, or were at the time of the incident, the real property owners,
 2    business operators, lessors and/or lessees of the real property for a laundromat
 3    (“Business”) located at or about 4400 S. Slauson Ave., Culver City, California.
 4            3.   The true names and capacities, whether individual, corporate, associate or
 5    otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
 6    who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
 7    Court to amend this Complaint when the true names and capacities have been
 8    ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
 9    fictitiously named Defendants are responsible in some manner, and therefore, liable to
10    Plaintiff for the acts herein alleged.
11            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
12    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
13    Defendants, and/or was acting in concert with each of the other Defendants, and in doing
14    the things alleged herein was acting with the knowledge and consent of the other
15    Defendants and within the course and scope of such agency or employment relationship.
16            5.   Whenever and wherever reference is made in this Complaint to any act or
17    failure to act by a defendant or Defendants, such allegations and references shall also be
18    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
19    and severally.
20                                  JURISDICTION AND VENUE
21            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
22    1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
23    seq.)
24            7.   Pursuant to pendant jurisdiction, attendant and related causes of action,
25    arising from the same nucleus of operating facts, are also brought under California law,
26    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
27    54, 54., 54.3 and 55.
28            8.   Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.



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 1          9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 2    property which is the subject of this action is located in this district, Los Angeles County,
 3    California, and that all actions complained of herein take place in this district.
 4                                   FACTUAL ALLEGATIONS
 5          10.    In or about April of 2023, Plaintiff went to the Business.
 6          11.    The Business is a laundromat business establishment, open to the public, and
 7    is a place of public accommodation that affects commerce through its operation.
 8    Defendants provide parking spaces for customers.
 9          12.    While attempting to enter the Business during each visit, Plaintiff personally
10    encountered a number of barriers that interfered with his ability to use and enjoy the
11    goods, services, privileges, and accommodations offered at the Business.
12          13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
13    included, but were not limited to, the following:
14                 a.     Defendants failed to comply with the federal and state standards for
15                        the parking space designated for persons with disabilities. Defendants
16                        failed to provide proper van accessible space designated for the
17                        persons with disabilities.
18                 b.     Defendants failed to comply with the federal and state standards for
19                        the parking space designated for persons with disabilities. Defendants
20                        failed to paint the ground as required.
21                 c.     Defendants failed to comply with the federal and state standards for
22                        the parking space designated for persons with disabilities. Defendants
23                        failed to mark the space with the International Symbol of
24                        Accessibility.
25          14.    These barriers and conditions denied Plaintiff the full and equal access to the
26    Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
27    patronize the Business; however, Plaintiff is deterred from visiting the Business because
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 1    his knowledge of these violations prevents him from returning until the barriers are
 2    removed.
 3          15.    Based on the violations, Plaintiff alleges, on information and belief, that
 4    there are additional barriers to accessibility at the Business after further site inspection.
 5    Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
 6    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 7          16.    In addition, Plaintiff alleges, on information and belief, that Defendants
 8    knew that particular barriers render the Business inaccessible, violate state and federal
 9    law, and interfere with access for the physically disabled.
10          17.    At all relevant times, Defendants had and still have control and dominion
11    over the conditions at this location and had and still have the financial resources to
12    remove these barriers without much difficulty or expenses to make the Business
13    accessible to the physically disabled in compliance with ADDAG and Title 24
14    regulations. Defendants have not removed such barriers and have not modified the
15    Business to conform to accessibility regulations.
16                                    FIRST CAUSE OF ACTION
17        VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
18          18.    Plaintiff incorporates by reference each of the allegations in all prior
19    paragraphs in this complaint.
20          19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
21    shall be discriminated against on the basis of disability in the full and equal enjoyment of
22    the goods, services, facilities, privileges, advantages, or accommodations of any place of
23    public accommodation by any person who owns, leases, or leases to, or operates a place
24    of public accommodation. See 42 U.S.C. § 12182(a).
25          20.    Discrimination, inter alia, includes:
26                 a.    A failure to make reasonable modification in policies, practices, or
27                       procedures, when such modifications are necessary to afford such
28                       goods, services, facilities, privileges, advantages, or accommodations



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 1                    to individuals with disabilities, unless the entity can demonstrate that
 2                    making such modifications would fundamentally alter the nature of
 3                    such goods, services, facilities, privileges, advantages, or
 4                    accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 5               b.    A failure to take such steps as may be necessary to ensure that no
 6                     individual with a disability is excluded, denied services, segregated or
 7                     otherwise treated differently than other individuals because of the
 8                     absence of auxiliary aids and services, unless the entity can
 9                     demonstrate that taking such steps would fundamentally alter the
10                     nature of the good, service, facility, privilege, advantage, or
11                     accommodation being offered or would result in an undue burden. 42
12                     U.S.C. § 12182(b)(2)(A)(iii).
13               c.    A failure to remove architectural barriers, and communication barriers
14                     that are structural in nature, in existing facilities, and transportation
15                     barriers in existing vehicles and rail passenger cars used by an
16                     establishment for transporting individuals (not including barriers that
17                     can only be removed through the retrofitting of vehicles or rail
18                     passenger cars by the installation of a hydraulic or other lift), where
19                     such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
20               d.    A failure to make alterations in such a manner that, to the maximum
21                     extent feasible, the altered portions of the facility are readily
22                     accessible to and usable by individuals with disabilities, including
23                     individuals who use wheelchairs or to ensure that, to the maximum
24                     extent feasible, the path of travel to the altered area and the
25                     bathrooms, telephones, and drinking fountains serving the altered
26                     area, are readily accessible to and usable by individuals with
27                     disabilities where such alterations to the path or travel or the
28                     bathrooms, telephones, and drinking fountains serving the altered



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 1                        area are not disproportionate to the overall alterations in terms of cost
 2                        and scope. 42 U.S.C. § 12183(a)(2).
 3          21.    Where parking spaces are provided, accessible parking spaces shall be
 4    provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
 5    eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
 6    (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
 7    Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
 8    be a van accessible parking space. 2010 ADA Standards § 208.2.4. Signs shall be 60
 9    inches (1525 mm) minimum above the finish floor or ground surface measured to the
10    bottom of the sign. 2010 ADA Standards § 502.6.
11          22.    For the parking spaces, access aisles shall be marked with a blue painted
12    borderline around their perimeter. The area within the blue borderlines shall be marked
13    with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
14    with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
15    be painted on the surface within each access aisle in white letters a minimum of 12 inches
16    (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
17    11B-502.3.3.
18          23.    Here, Defendants failed to provide a proper access aisle as there were no
19    “NO PARKING” marking and no blue hatched lines painted on the parking surface.
20    Moreover, Defendants failed to provide the access aisle with the minimum width of 96
21    inches.
22          24.    The surface of each accessible car and van space shall have surface
23    identification complying with either of the following options: The outline of a profile
24    view of a wheel chair with occupant in white on a blue background a minimum 36” wide
25    by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
26    of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
27    length of the parking space and its lower side or corner aligned with the end of the
28    parking space length or by outlining or painting the parking space in blue and outlining



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 1    on the ground in white or a suitable contrasting color a profile view of a wheel chair with
 2    occupant. See CBC § 11B-502.6.4, et seq.
 3          25.      Here, Defendants failed to paint the International Symbol of Accessibility on
 4    the surface as required.
 5          26.      A public accommodation shall maintain in operable working condition those
 6    features of facilities and equipment that are required to be readily accessible to and usable
 7    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
 8          27.      By failing to maintain the facility to be readily accessible and usable by
 9    Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
10    regulations.
11          28.      The Business has denied and continues to deny full and equal access to
12    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
13    discriminated against due to the lack of accessible facilities, and therefore, seeks
14    injunctive relief to alter facilities to make such facilities readily accessible to and usable
15    by individuals with disabilities.
16                                  SECOND CAUSE OF ACTION
17                      VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
18          29.      Plaintiff incorporates by reference each of the allegations in all prior
19    paragraphs in this complaint.
20          30.      California Civil Code § 51 states, “All persons within the jurisdiction of this
21    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
22    national origin, disability, medical condition, genetic information, marital status, sexual
23    orientation, citizenship, primary language, or immigration status are entitled to the full
24    and equal accommodations, advantages, facilities, privileges, or services in all business
25    establishments of every kind whatsoever.”
26          31.      California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
27    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
28    for each and every offense for the actual damages, and any amount that may be



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 1    determined by a jury, or a court sitting without a jury, up to a maximum of three times the
 2    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
 3    attorney’s fees that may be determined by the court in addition thereto, suffered by any
 4    person denied the rights provided in Section 51, 51.5, or 51.6.
 5          32.    California Civil Code § 51(f) specifies, “a violation of the right of any
 6    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 7    shall also constitute a violation of this section.”
 8          33.    The actions and omissions of Defendants alleged herein constitute a denial
 9    of full and equal accommodation, advantages, facilities, privileges, or services by
10    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
11    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
12    51 and 52.
13          34.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
14    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
15    damages as specified in California Civil Code §55.56(a)-(c).
16                                   THIRD CAUSE OF ACTION
17                 VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
18          35.    Plaintiff incorporates by reference each of the allegations in all prior
19    paragraphs in this complaint.
20          36.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
21    entitled to full and equal access, as other members of the general public, to
22    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
23    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
24    railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
25    of transportation (whether private, public, franchised, licensed, contracted, or otherwise
26    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
27    places of public accommodations, amusement, or resort, and other places in which the
28




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 1    general public is invited, subject only to the conditions and limitations established by
 2    law, or state or federal regulation, and applicable alike to all persons.
 3          37.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 4    corporation who denies or interferes with admittance to or enjoyment of public facilities
 5    as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
 6    individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 7    the actual damages, and any amount as may be determined by a jury, or a court sitting
 8    without a jury, up to a maximum of three times the amount of actual damages but in no
 9    case less than one thousand dollars ($1,000) and any attorney’s fees that may be
10    determined by the court in addition thereto, suffered by any person denied the rights
11    provided in Section 54, 54.1, and 54.2.
12          38.    California Civil Code § 54(d) specifies, “a violation of the right of an
13    individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
14    constitute a violation of this section, and nothing in this section shall be construed to limit
15    the access of any person in violation of that act.
16          39.    The actions and omissions of Defendants alleged herein constitute a denial
17    of full and equal accommodation, advantages, and facilities by physically disabled
18    persons within the meaning of California Civil Code § 54. Defendants have
19    discriminated against Plaintiff in violation of California Civil Code § 54.
20          40.    The violations of the California Disabled Persons Act caused Plaintiff to
21    experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
22    statutory damages as specified in California Civil Code §55.56(a)-(c).
23                                 FOURTH CAUSE OF ACTION
24                 CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
25          41.    Plaintiff incorporates by reference each of the allegations in all prior
26    paragraphs in this complaint.
27          42.    Plaintiff and other similar physically disabled persons who require the use of
28    a wheelchair are unable to use public facilities on a “full and equal” basis unless each



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 1   such facility is in compliance with the provisions of California Health & Safety Code §
 2   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 3   provisions of California Health & Safety Code § 19955 et seq.
 4          43.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
 5   that public accommodations or facilities constructed in this state with private funds
 6   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
 7   Title 1 of the Government Code. The code relating to such public accommodations also
 8   require that “when sanitary facilities are made available for the public, clients, or
 9   employees in these stations, centers, or buildings, they shall be made available for
10   persons with disabilities.
11          44.    Title II of the ADA holds as a “general rule” that no individual shall be
12   discriminated against on the basis of disability in the full and equal enjoyment of goods
13   (or use), services, facilities, privileges, and accommodations offered by any person who
14   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
15   Further, each and every violation of the ADA also constitutes a separate and distinct
16   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
17   award of damages and injunctive relief pursuant to California law, including but not
18   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
19                                   FIFTH CAUSE OF ACTION
20                                         NEGLIGENCE
21          45.    Plaintiff incorporates by reference each of the allegations in all prior
22   paragraphs in this complaint.
23          46.    Defendants have a general duty and a duty under the ADA, Unruh Civil
24   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
25   to the Plaintiff.
26          47.    Defendants breached their duty of care by violating the provisions of ADA,
27   Unruh Civil Rights Act and California Disabled Persons Act.
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 1         48.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
 2   has suffered damages.
 3                                    PRAYER FOR RELIEF
 4         WHEREFORE, Plaintiff respectfully prays for relief and judgment against
 5   Defendants as follows:
 6         1.     For preliminary and permanent injunction directing Defendants to comply
 7   with the Americans with Disability Act and the Unruh Civil Rights Act;
 8         2.     Award of all appropriate damages, including but not limited to statutory
 9   damages, general damages and treble damages in amounts, according to proof;
10         3.     Award of all reasonable restitution for Defendants’ unfair competition
11   practices;
12         4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
13   action;
14         5.     Prejudgment interest pursuant to California Civil Code § 3291; and
15         6.     Such other and further relief as the Court deems just and proper.
16                              DEMAND FOR TRIAL BY JURY
17         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
18   demands a trial by jury on all issues so triable.
19
20   Dated: July 25, 2023                    SO. CAL. EQUAL ACCESS GROUP
21
22
23                                           By:    _/s/ Jason J. Kim___________
                                                    Jason J. Kim, Esq.
24                                                  Attorneys for Plaintiff
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